  Case 4:03-cv-00137-ESC ECF No. 166, PageID.858 Filed 11/27/06 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



 ROBERT BROOKS #181158,

               Plaintiff,                                     Hon. Ellen S. Carmody

 v.                                                           Case No. 4:03-cv-00137

 PETE YOUNGERT, et al.,

            Defendants.
 _________________________________/


                                              ORDER


               This matter is before the Court on Defendant’s Motion in Limine and Defendant’s

Motion to Quash Discovery Subpoenas (Dkt. Nos. 136 and 149, respectively). For the reasons stated

on the record on the first day of trial, November 15, 2006:

               IT IS HEREBY ORDERED that Defendant’s Motion in Limine (Dkt. 136) is

granted and Defendant’s Motion to Quash Discovery Subpoenas (Dkt. 149) is is denied as moot.



Date: November 27, 2006                                        /s/ Ellen S. Carmody
                                                              ELLEN S. CARMODY
                                                              United States Magistrate Judge
